 Case: 4:11-cr-00057-RWS            Doc. #: 528 Filed: 10/04/11          Page: 1 of 2 PageID #:
                                              1221



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
           Plaintiff,                          )
                                               )
     v.                                        ) No. 4:11CR057 RWS NAB
                                               )
DELANO SMITH,                                  )
                                               )
           Defendant.                          )

                            ORDER AND SPEEDY TRIAL FINDING

          This matter is before the Court on Defendant’s Motion to Continue the Motion Deadline

[Doc. #517] filed on October 3, 2011. In support of the Motion Defendant stated:

          1. This case has been declared a complex case.

          2. Defense counsel has been provided with a tremendous amount of discovery and has yet

to have ample time to review all of it in order to properly advise the defendant whether or not to

file motions.

          Defendant requested that the pretrial motion deadline previously set for October 3, 2011

be continued. For good cause shown,

          IT IS HEREBY ORDERED that Defendant’s Motion to Continue the Motion Deadline

[Doc. #517] is GRANTED. Defendant shall have to and including November 3, 2011 to file any

pretrial motions or waiver of motions. The government shall have until November 10, 2011 to

respond.

          Speedy Trial Finding: For the reasons set out in Defendant’s motion, the Court finds

that to deny Defendant’s request for such additional time would deny counsel for Defendant the

reasonable time necessary for effective investigation and preparation of pretrial motions, taking
 Case: 4:11-cr-00057-RWS          Doc. #: 528 Filed: 10/04/11           Page: 2 of 2 PageID #:
                                            1222



into account the exercise of due diligence, and that the ends of justice served by granting

Defendant’s request for additional time outweigh the best interest of the public and Defendant in

a speedy trial, and therefore, the time granted to Defendant to investigate and properly prepare

pretrial motions, or a waiver thereof, is excluded from computation of Defendant’s right to a

speedy trial pursuant to 18 U.S.C. §§ 3161(c)(1) and 3161(h)(7).


                                                    /s/ Nannette A. Baker
                                              NANNETTE A. BAKER
                                              UNITED STATES MAGISTRATE JUDGE

Dated this   4th day of October, 2011.




                                                 2
